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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                               X


UNITED STATES OF AMERICA

          -v. -
                                                                     SEALED INDICTMENT
ULRIK DEBO,
   a/k/a "Melgaard Debo,"
   a/k/a "Ulrik Melgaard,"
                                                                     S 2 19 Cr .   'f; f)   '1
                      Defendant.

 ------------------                             X




                                 COUNT ONE
                  (Conspiracy to Commit Securities Fraud)

     The Grand Jury charges:

                      Relevant Persons and Entities

     1.   At all times relevant to this Indictment, ULRIK DEBO,

a/k/a "Melgaard Debo," a/k/a "Ulrik Melgaard," the defendant, a

Danish citizen, resided in Europe and, at certain times relevant

to this Indictment, was employed by a Cayman Islands-based

financial services firm.

     2.   At all times relevant to this Indictment, a co-

conspirator not named as a defendant herein ("CC-1"), was a

United States citizen and resided in the United States.

     3.   At all times relevant to this Indictment, a co-

conspirator not named as a defendant herein ("CC-2") was a
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citizen of the United Kingdom and of Switzerland, was a founder

and co-principal of Firm-1.

     4.   At all times relevant to this Indictment, Firm-1 was a

Swiss corporation based in Geneva, Switzerland that purported to

offer asset management and trustee services to its clients.

Firm-1 is owned and controlled by CC-2 and one other co-founder

and co-principal.     Throughout its corporate existence, as set

forth herein, Firm-1, through CC-2 and others, executed stock

manipulation schemes relating to the publicly traded shares of

multiple companies and facilitated the laundering of proceeds

from those schemes.    Among other things, Firm-1 set up various

nominee entities to help its clients conceal their ownership of

public company shares, and evade SEC reporting requirements, and

opened bank accounts and brokerage accounts on behalf of those

nominee entities.     Firm-1 executed trades in accounts held by

various nominee entities in furtherance of various stock

manipulation schemes and received fees and commissions in

exchange for its services in advancing those schemes.

     5.   At all times relevant to this Indictment, Company-1

was a publicly traded company based in Manhattan, New York that

purported to develop treatments for insomnia.        Shares of

Company-1 traded on the OTC market in the United States.




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    6.       At all times relevant to this Indictment, Company-2

was a privately held company based in California that purported

to develop water-based cannabidiol ("CBD") products.

     7.      At all times relevant to this Indictment, Company-3

was a publicly traded company based in London that purported to

engage in gold exploration.         Shares of Company-3 traded on the

OTC market.

     8.       At all times relevant to this Indictment, Company-4

was a publicly traded company that was incorporated in Nevada

and based in California.        Company-4 previously purported to rent

hybrid electric and low emission vehicles.           As of in or about

October 2019, Company-4 purported to be engaged in plans to sell

bottled CED-infused water and energy drinks.            Shares of Company-

4 traded on the OTC market.

                            The Scheme to Defraud

     9.       From at least in or about 2013, up to and including at

least in or about July 2019, ULRIK DEBO, a/k/a "Molgaard Debo,"

a/k/a "Ulrik Molgaard," the defendant, and others known and

unknown, conspired to defraud the investing public by

orchestrating and facilitating multiple stock manipulation

schemes, commonly referred to as "pump and dump" schemes.

     10.      In executing these pump and dump schemes, ULRIK DEBO,

a/k/a "Molgaard Debo," a/k/a "Ulrik Molgaard," the defendant,

and his co-conspirators generally utilized the following steps:

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(1) they secretly amassed beneficial ownership of all, or

substantially all, of the stock of certain publicly traded

companies;    (2) they then manipulated the price and demand for

the stocks of those companies, including through the release of

materially false information to the investing public, causing

the stock prices to become artificially inflated; and (3) they

sold out of their secretly-amassed positions at these inflated

values at the expense of the investing public.

     11.     The vast majority of the securities that ULRIK DEBO,

a/k/a "Melgaard Debo," a/k/a "Ulrik Melgaard," the defendant,

and others known and unknown, conspired to manipulate were

"penny" or "microcap" stocks that traded in the United States on

the OTC market.     These securities were issued by small

companies, were thinly traded, and typically traded at less than

$1 per share.     Thus, these securities were particularly

susceptible to manipulation.

  Overview of the Defendant's and Others Role in the Scheme to

                                 Defraud

     12.     ULRIK DEBO, a/k/a "Melgaard Debo," a/k/a "Ulrik

Melgaard," the defendant, furthered the stock manipulation

scheme by, among other things, identifying a suitable publicly

traded shell company that could be used in the scheme;

identifying, in certain instances, a suitable privately held

company to engage in a "reverse merger" with the shell company;

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obtaining financing to purchase all or substantially all of the

outstanding shares of the shell company issuer; causing Nominee

Entities to obtain ownership of the issuer's shares; identifying

and paying "promoters" that issued exaggerated and, at times,

false press releases about the issuer in order to raise the

trading price and volume of the issuer's shares; and identifying

and paying various "trading specialists" who assisted in

artificially manipulating the trading volume and price of the

issuer's shares.

     13.   ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik

Molgaard," the defendant, was aided in the stock manipulation

scheme by CC-1, CC-2, and others.       CC-2 primarily furthered the

stock manipulation scheme by, among other things, using Firm-1

to obscure scheme participants' beneficial ownership and control

of all or substantially all of the shares of companies

("issuers") whose securities they sought to manipulate.           CC-2

caused Firm-1 to establish nominee entities that were registered

in the names of various third parties (the "Nominee Entities")

to hold the shares that were, in truth and in fact, beneficially

owned and controlled by the scheme participants.         CC-2 also

caused Firm-1 to open bank accounts in the names of these

Nominee Entities and to trade shares owned by the Nominee

Entities through various brokerage accounts.         Through Firm-1,

CC-2 exercised trading authority over the Nominee Entities'

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shares and CC-2 directed brokers to execute trades on behalf of

these Nominee Entities in furtherance of the stock manipulation

scheme.       Certain of these trades were executed in Manhattan, New

York.     CC-2, through Firm-1, received fees and a share of the

illicit profits generated by the scheme's manipulative trading.

              Use of Nominee Entities to Secretly Amass Shares

        14.    In furtherance of the conspiracy and scheme to

defraud, ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik

Molgaard," the defendant, and others known and unknown, secretly

amassed beneficial ownership and control of all or substantially

all of the stock of the issuers whose stock they planned to

manipulate.       In order to obscure their ownership interests, DEBO

and others caused these shares to be held in the names of

multiple Nominee Entities.        Additionally, DEBO and others caused

the Nominee Entities' holdings to be structured in such a way so

as to ensure that no single Nominee Entity held more than five

percent of the outstanding stock of any of the issuers.

                      The Reverse Merger Transactions

        15.    As·a further part of the conspiracy and the scheme to

defraud, ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik

Molgaard," the defendant, and others, on multiple occasions,

caused publicly traded shell companies with few, if any, assets

to reverse merge with privately held companies that typically

were in industries likely to attract the investing public's

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interest, such as CBD products, blockchain, and gold mining.          In

connection with the reverse mergers, DEBO, and others caused

various filings to be made with the United States Securities and

Exchange Commission (the "SEC") that contained material

misrepresentations and omissions.      For example, when disclosing

which shareholders held more than five percent of the relevant

company's stock, these filings concealed that the co-

conspirators beneficially owned more than five percent of the

stock, which they controlled through nominee brokerage accounts.

  Manipulation of the Issuers' Stock Prices and Trading Volume

     16.   After ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik

Molgaard," the defendant, and others participating in the scheme

had obtained control of all or substantially all of the shares

of an issuer and, in certain instances, after the completion of

a reverse merger, the scheme participants manipulated the

trading price and volume for the stock of the issuer.         DEBO and

others typically manipulated the price and volume by, among

other things, causing promotional materials to be distributed to

the investing public that contained exaggerated and, at times,

false claims about the issuer.     DEBO and others concealed from

the investing public the fact that these promotional materials

were financed and created at the direction of those who

beneficially owned and controlled substantially all of the

shares of the relevant issuers.

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     17.   ULRIK DEBO, a/k/a "Melgaard Debo," a/k/a "Ulrik

Melgaard," the defendant, and others also engaged in

manipulative trading activity in order to artificially increase

the trading volume and share price of the issuers whose stock

they sought to manipulate.       Certain of these trades were

executed in Manhattan, New York, as well as elsewhere in the

United States.    For example:

           a.    DEBO and others caused Nominee Entities subject

to their control to engage in "match" trades in which they

caused multiple Nominee Entities they controlled to essentially

trade with one another to create the appearance of trading

volume and demand for the stock at issue.        For instance, DEBO

and other scheme participants frequently caused one Nominee

Entity they controlled to place a buy order for a certain

quantity of shares at a particular, often above-market, price,

and another Nominee Entity they controlled to place a matching

sell order for a similar quantity of shares at a similar price.

The match trades had the effect of increasing trading price and

volume of the manipulated stock and of making it appear to the

investing public that such increases were driven by actual

market interest in the stock rather than coordinated and

contrived trades between Nominee Entities controlled by the

defendant and his co-conspirators.




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              b.   In addition, DEBO and others took steps to ensure

that a given stock they were manipulating closed "in the green,"

meaning that the stock's closing price at the end of the trading

day exceeded the opening price at the beginning of the trading

day.     The scheme participants manipulated the stock's share

price in this fashion in order to make it appear that the

stock's share price was consistently increasing over time due to

actual market demand so that the stock would be more attractive

to the investing public.       In order to accomplish the goal of

having the stock close "in the green," the scheme participants

engaged in manipulative trading at or near the close of the

trading day.

             Manipulation of the Shares of Particular Issuers

       18.    As part of the scheme, ULRIK DEBO, a/k/a "Molgaard

Debo," a/k/a "Ulrik Molgaard," the defendant, and others sought

to manipulate the shares of, among others, the issuers set forth

below.

                                  Company-1

       19.    From at least in or about 2013, up to and including at

least in or about 2017, ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a

"Ulrik Molgaard," the defendant, and others known and unknown,

schemed to manipulate the trading price and volume of the stock

of Company-1.      In furtherance of the scheme, DEBO, working with

CC-1, among others, caused funds to be transferred, including

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through wire transfers that were executed, in part, through

Manhattan, New York, in order to obtain beneficial ownership and

control of all or substantially all of the outstanding shares of

Company-1.

     20.     ULRIK DEBO, a/k/a "Melgaard Debo," a/k/a "Ulrik

Melgaard," the defendant, and others known and unknown,

thereafter caused the shares of Company-1 that they controlled

to be held in the names of multiple Nominee Entities, including

Nominee Entities that CC-2 controlled through Firm-1.          The

shares were spread among the various Nominee Entities in order

to obscure the fact that, in reality, CC-2, DEBO, and the other

scheme participants controlled the shares' disposition.

     21.     In or about March 2016, in furtherance of the scheme

to manipulate the trading price and volume of Company-1, CC-1,

CC-2, and Firm-1, among others, caused Nominee Entities subject

to their control to engage in match trades with another entity

controlled by an associate of CC-1 ("Associate-1") that was, in

truth and in fact, purchasing Company-l's shares at the

direction of CC-1 and CC-2.     In particular:

             a.   CC-2 and Firm-1 caused Nominee Entities that they

controlled to place sell orders of Company-l's shares in certain

specified quantities at a particular price and CC-1, with CC-2's

knowledge, instructed Associate-1 to have an entity Associate-1




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controlled place a matching buy order for a similar quantity of

shares at a similar price.

             b.   CC-2, Firm-1, and CC-1, in truth and in fact,

were secretly financing the purchases of shares by Associate-1

such that, after the match trades were completed in the open

market, CC-2 and Firm-1 caused funds to be transferred to an

entity Associate-1 controlled to pay for approximately 70

percent of the gross sales of the Company-1 shares.

Accordingly, CC-2, Firm-1, and CC-1 were not only controlling

the timing, quantity and price of the selling and buying of the

Company-1 shares, but also were paying kickbacks to Associate-1

to repay him for participating in the match trades at their

direction.

             c.   Additionally, CC-1, with the knowledge of CC-2,

instructed Associate-1 to not sell the shares of Company-1 that

Associate-1 had acquired through the aforementioned match trades

into the market.    Associate-1 ultimately agreed to not sell the

shares until CC-1 instructed him otherwise.        This allowed CC-2

and CC-1 to keep the shares of Company-1 under CC-2 and CC-l's

control.

                               Company-4

     22.     Beginning in or about September 2018 and continuing

through at least in or about December 2019, ULRIK DEBO, a/k/a

"Molgaard Debo," a/k/a "Ulrik Molgaard," the defendant, and

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others known and unknown, schemed to manipulate the trading

price and volume of the stock of Company-3 and Company-4.                In

furtherance of the scheme, DEBO, initially identified Company-3

as a publicly traded shell company that the group could obtain

control of and cause to engage in a reverse merger with Company-

2, a privately held company.       DEBO later indicated that the

group would instead utilize Company-4 as the publicly traded

shell company into which Company-2 could be merged.

       23.   In order to obtain control of all of the free trading

shares of Company-4, ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a

"Ulrik Molgaard," the defendant, with the knowledge and

agreement of CC-2, instructed CC-1 to wire funds to a bank

account designated by DEBO as partial payment for control of

Company-4 in preparation for the manipulation of Company-4's

stock's after it merged with Company-2.         In order to facilitate

the reverse merger, DEBO caused attorneys to prepare various

necessary agreements, documents, and filings with respect to

Company-4, including documents filed with the OTC Markets Group,

Inc.   ("OTC Markets"), a company in the United States that

administers the OTC market.

       24.   For example, in or about October 2019, ULRIK DEBO,

a/k/a "Molgaard Debo," a/k/a "Ulrik Molgaard," the defendant,

caused various documents relating to listing of shares of

Company-4 to be filed with OTC Markets and made accessible to

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the investing public on OTC Markets' website.        These publicly

available documents included Company-4's financial statements,

as well as multiple "Disclosure Statements Pursuant to the Pink

Basic Disclosure Guidelines," a form OTC Markets disclosure

filing, including for the period ending June 30, 2019.          CC-2 was

apprised of the fact that DEBO had caused the aforementioned

filings to be made.

     25.     In connection with the scheme, CC-2 and Firm-1 made

available multiple Nominee Entities to hold and trade shares of

Company-4.    Additionally, in order to manipulate the trading

price and volume of the relevant stock, ULRIK DEBO, a/k/a

"Molgaard Debo," a/k/a "Ulrik Molgaard," the defendant, and CC-2

identified and agreed to provide payment to a stock promoter

who, in connection with the stock manipulation scheme, was

engaged to issue exaggerated and misleading press releases

following the planned reverse merger.       CC-2 and DEBO also made

plans to work with CC-1 as a "trading specialist" in order to

engage in manipulative trading activity to artificially increase

the trading volume and share price of the relevant shares,

including through match trades between Nominee Entities.

                Laundering the Profits from the Scheme,
                       Including Through Firm-1

     26.     After the scheme participants artificially inflated

the share prices of the relevant issuers' stock, they profited


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from the scheme by selling the shares they beneficially owned

and controlled into the market at these artificial prices.             By

selling these shares while the trading price was artificially

inflated through their manipulative trading activity, the scheme

participants reaped millions in illicit profits.

     27.   After these crime proceeds were generated, CC-2 and

Firm-1 assisted the other scheme participants, including ULRIK

DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik Molgaard," the

defendant, in obtaining their cut of these proceeds by remitting

these illicit funds to them in a manner designed to conceal the

source of these funds or the identity of the recipients thereof,

including through transfers that were executed, in part, through

accounts located in Manhattan, New York.       With CC-2's knowledge

and, at times, at CC-2's direction, these transfers were

executed in a manner intended to conceal the true source of

these funds and the recipients of the funds by, for instance (1)

using fabricated invoices to justify wire transfers from

accounts held in the names of the Nominee Entities, controlled

and operated by Firm-1, to other bank accounts controlled by the

scheme participants and (2) transferring the proceeds

immediately to third-party sellers of assets, including high-end

luxury goods and luxury automobiles, on behalf of the scheme

participants for the purchase of these items, but without the




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transfers passing through any accounts associated with the

participants.

                        Statutory Allegations

     28.   From at least in or about 2013, up to and including in

or about December 2019, in the Southern District of New York,

and elsewhere, ULRIK DEBO, a/k/a "Melgaard Debo," a/k/a "Ulrik

Melgaard," the defendant, and others known and unknown,

willfully and knowingly combined, conspired, confederated, and

agreed together and with each other to commit offenses against

the United States, to wit, securities fraud,       in violation of

Title 15, United States Code, Sections 78j (b) and 78ff, and

Title 17, Code of Federal Regulations, Section 240.l0b-5.

     29.   It was a part and an object of the conspiracy that

ULRIK DEBO, a/k/a "Melgaard Debo," a/k/a "Ulrik Melgaard," the

defendant, and others known and unknown, willfully and

knowingly, directly and indirectly, by use of the means and

instrumentalities of interstate commerce, the mails, and the

facilities of national securities exchanges, would and did use

and employ, in connection the purchase and sale of securities,

manipulative and deceptive devices and contrivances in violation

of Title 17, Code of Federal Regulations, Section 240.l0b-5, by

(a) employing devices, schemes, and artifices to defraud;          (b)

making and causing to be made untrue statements of material fact

and omitting to state material facts necessary in order to make

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the statements made, in light of the circumstances under which

they were made, not misleading; and (c) engaging in acts,

practices, and courses of business which operated and would

operate as a fraud and deceit upon persons, in violation of

Title 15, United States Code, Sections 78j (b) and 78ff; and

Title 17, Code of Federal Regulations, Section 240.l0b-5.

     30.     It was further a part and an object of the conspiracy

that ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik Molgaard,"

the defendant, and others known and unknown, willfully and

knowingly, having devised and intending to devise a scheme and

artifice to defraud, and for obtaining money and property by

means of false and fraudulent pretenses, representations, and

promises, would and did transmit and cause to be transmitted by

means of wire and radio communication in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds for the

purpose of executing such scheme and artifice, in violation of

Title 18, United States Code, Section 1343.

                              Overt Acts

     31.     In furtherance of the conspiracy and to effect the

illegal objects thereof, the following overt acts, among others,

were committed in the Southern District of New York and

elsewhere:

             a.   In or about November 2015, CC-2 and Firm-1 caused

a wire transfer to be sent from a third party account to a

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Nominee Entity controlled by CC-2 and Firm-1 in connection with

the scheme to artificially manipulate the trading price and

volume of Company-l's stock, which wire was executed, in part,

through Manhattan, New York.

          b.    In or about March 2016, CC-2 and Firm-1, and

others known and unknown caused a broker to execute trade orders

using a Nominee Entity to artificially manipulate the trading

price and volume of Company-l's stock, and certain of these

trade orders were executed in Manhattan, New York.

          c.   On or about April 16, 2019·, ULRIK DEBO, a/k/a

"Molgaard Debo," a/k/a "Ulrik Molgaard," the defendant,

instructed CC-1 to wire funds to a bank account designated by

DEBO ("Bank Account-1") in preparation for the manipulation of

Company-2's stock after its merger into Company-3 or Company-4.

          d.    On or about April 26, 2019, CC-1 caused $50,000

to be wired to Bank Account-1, which wire was executed, in part,

through Manhattan, New York.

          e.    On or about May 14, 2019, DEBO instructed CC-1 to

wire additional funds to a different bank account designated by

DEBO ("Bank Account-2") in order to prepare for the manipulation

of Company-2's stock after its merger into Company-3 or Company-

4.




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          f.    On or about May 15, 2019, ee-1 caused $50,000 to

be wired to Bank Account-2, which wire was executed, in part,

through Manhattan, New York.

          g.    On or about June 11, 2019, ee-2 spoke by

telephone with ee-1, who at the time was located in Manhattan,

New York, and informed ee-2 of his presence there.         ee-2 and ee-

l discussed their plan to manipulate the trading price and

trading volume of the stock of eompany-3, and subsequently,

eompany-4 after the planner reverse merger with eompany-2.

          h.    On or about June 12, 2019, DEBO again spoke by

telephone with ee-1, who at the time was located in Manhattan,

New York, and informed DEBO of his presence there.         DEBO and ee-

l discussed their plan to manipulate the tradtng price and

trading volume of eompany-2's stock after its merger into

eompany-3 or eompany-4.

          i.    On or about June 14, 2019, DEBO sent CC-1 an

email attaching a draft Disclosure Statement Pursuant to the

Pink Basic Disclosure Guidelines to OTC Markets for eompany-4 in

connection with their plan to manipulate the trading price and

trading volume of eompany-4's stock.

          j.    On or about June 17, 2019, DEBO spoke by

telephone with CC-1 and confirmed that they would utilize

eompany-4 as a publicly traded shell company for the stock

manipulation scheme.

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           k.   In or about October 2019, in connection with the

plan to manipulate the trading price and trading volume of

Company-4's stock, DEBO caused various filings to be made with

OTC Markets with respect to Company-4 that were reviewed and

acted upon by employees of OTC Markets based in Manhattan, New

York and elsewhere.

            (Title 18, United States Code, Section 371.)

                              COUNT TWO
                 (Conspiracy to Commit Wire Fraud])

     The Grand Jury further charges:

     32.   The allegations contained in paragraphs 1 through 27,

and 31 above are hereby repeated, re-alleged, and incorporated

by reference as if fully set forth herein.

     33.   From at least in or about 2013, up to and including in

or about December 2019, in the Southern District of New York,

and elsewhere, ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik

Molgaard," the defendant, and others known and unknown,

willfully and knowingly combined, conspired, confederated, and

agreed together and with each other to commit wire fraud, in

violation of Title 18, United States Code, Section 1343.

     34.   It was a part and an object of the conspiracy that

ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik Molgaard," the

defendant, and others known and unknown, willfully and

knowingly, having devised and intending to devise a scheme and


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art if ice to defraud,_ and for obtaining money and property by

means of false and fraudulent pretenses, representations, and

promises, would and did transmit and cause to be transmitted by

means of wire and radio communication in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds for the

purpose of executing such scheme and artifice, in violation of

Title 18, United States Code, Section 1343.

           (Title 18, United States Code, Section 1349.)

                            COUNT THREE
                   {Securities Fraud - Company-1)

     The Grand Jury further charges:

     35.   The allegations contained in paragraphs 1 through 27,

and 31 above are hereby repeated, re-alleged, and incorporated

by reference as if fully set forth herein.

     36.   From at least in or about 2013, ~p to and including at

least in or about 2017, in the Southern District of New York and

elsewhere, ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik

Molgaard," the defendant, and others known and unknown,

willfully and knowingly, directly and indirectly, by the use of

means and instrumentalities of interstate commerce, and the

mails and facilities of national securities exchanges, did use

and employ, and cause to be used and employed, in connection

with the purchase and sale of securities, manipulative and

deceptive devices and contrivances in contravention of Title 17,


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Code of Federal Regulations, Section 240.l0b-5, by (a) employing

devices, schemes, and artifices to defraud;       (b) making untrue

statements of material fact and omitting to state material facts

necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading; and

(c) engaging in acts, practices and courses of business which

operated and would operate as a fraud and deceit upon persons,

and aided and abetted the same, to wit, DEBO, and others schemed

to manipulate the trading price and trading volume of Company-

l's stock.

     (Title 15, United States Code, Sections 78j (b) & 78ff;
    Title 17, Code of Federal Regulations, Section 240.l0b-5;
          and Title 18, United States Code, Section 2.)

                              COUNT FOUR
             (Securities Fraud - Company-3 and Company-4)

     The Grand Jury further charges:

     37.     The allegations contained in paragraphs 1 through 27,

and 31 above are hereby repeated, re-alleged, and incorporated

by reference as if fully set forth herein.

     38.     From at least in or about September 2018 up to and

including at least in or about December 2019, in the Southern

District of New York and elsewhere, ULRIK DEBO, a/k/a •Molgaard

Debo," a/k/a •ulrik Molgaard," the defendant, willfully and

knowingly, directly and indirectly, by the use of means and

instrumentalities of interstate commerce, and the mails and


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facilities of national securities exchanges, attempted to use

and employ, did use and employ, and cause to be used and

employed, in connection with the purchase and sale of

securities, manipulative and deceptive devices and contrivances

in contravention of Title 17, Code of Federal Regulations,

Section 240.lOb-5, by (a) employing devices, schemes, and

artifices to defraud;   (b) making untrue statements of material

fact and omitting to state material facts necessary in order to

make the statements made, in light of the circumstances under

which they were made, not misleading; and (c) engaging in acts,

practices and courses of business which operated and would

operate as a fraud and deceit upon persons, and aided and

abetted the same, to wit, DEBO, and others schemed to manipulate

the trading price and trading volume of the stock of Company-3

and, ultimately, Company-4.

     (Title 15, United States Code, Sections 78j (b) & 78ff;
    Title 17, Code of Federal Regulations, Section 240.lOb-5;
          and Title 18, United States Code, Section 2.)

                               COUNT FIVE
                              (Wire Fraud)

     The Grand Jury further charges:

     39.   The allegations contained in paragraphs 1 through 27,

and 31 above are hereby repeated, re-alleged, and incorporated

by reference as if fully set forth herein.




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     40.   From at least in or about 2013, up to and including at

least in or about July 2019, in the Southern District of New

York and elsewhere, ULRIK DEBO, a/k/a "Molgaard Debo," a/k/a
                            '
"Ulrik Molgaard," the defendant, willfully and knowingly, having

devised and intending to devise a scheme and artifice to

defraud, and for obtaining money and property by means of false

and fraudulent pretenses, representations and promises,

transmitted and caused to be transmitted by means of wire and

radio communication in interstate and foreign commerce,

writings, signs, signals, pictures, and sounds for the purpose

of executing such scheme and artifice, to wit, DEBO engaged in a

scheme to manipulate the trading price and trading volume for

the common stock of various publicly traded companies, which

scheme involved the use of wires.

       (Title 18, United States Code, Section 1343 and 2.)




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                       FORFEITURE ALLEGATIONS

     41.   As a result of committing one or more of the offenses

alleged in Counts One through Five of this Indictment, ULRIK

DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik Molgaard," the

defendant, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 981(a) (1) (C), and Title 28,

United States Code, Section 2461, any and all property, real and

personal, that constitutes or is derived from proceeds traceable

to the commission of said offenses, including but not limited

to, a sum of money in United States currency representing the

amount of proceeds traceable to the commission of said offenses.

     42.   As a result of committing one or more of the offenses

alleged in Counts Seven and Eight of this Indictment, ULRIK

DEBO, a/k/a "Molgaard Debo," a/k/a "Ulrik Molgaard," the

defendant, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 982(a) (1), any property, real

and personal, involved in said offenses, or any property

traceable to such property, including but not limited to a sum

in United States currency representing the amount of property

involved in said offenses.

                     Substitute Assets Provision

     43.   If any of the above-described forfeitable property, as

a result of any act or omission of ULRIK DEBO, a/k/a "Molgaard

Debo," a/k/a "Ulrik Molgaard," the defendant:

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             a.    cannot be located upon the exercise of due

diligence;

             b.    has been transferred or sold to, or deposited     '
with, a third person;

             c.    has been placed beyond the jurisdiction of the

Court;

             d.    has been substantially diminished in value; or

             e.    has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United States

Code, Section 2461, to seek forfeiture of any other property of

the defendant up to the value of the above forfeitable property.

   (Title 18, United States Code, Sections 981, 982; Title 21,
              United States Code, Section 853; and
          Title 28, United States Code, Section 2461.)


                                             ~&-~
                                            GEOFFREY S. BERMAN
                                            United States Attorney




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          Form No. USA-33s-274         (Ed. 9-25-58)


              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


                UNITED STATES OF AMERICA

                              - v. -

                       ULRIK DEBO,
                 a/k/a "Molgaard Debo,"
                 a/k/a "Ulrik Melgaard,"


                             Defendant


                      SEALED INDICTMENT

                       82 19 Cr.

         (15 U.S.C.   78j (b) & 78ff; 17 C.F.R.
                      §§
                       240.l0b-5;
                        §§
          18 u.s.c. §§ 371, 1343, 1349 & 2.)



                                    GEOFFREY S. BERMAN
                               United States Attorney.




            ~ILL

                                             FOREPERSON
